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                              1   DAVID S. GINGRAS, #021097
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                                  4802 East Ray Road, #23-271
                              3   Phoenix, Arizona 85044
                                  Telephone: (480) 264-1400
                              4   Facsimile: (480) 248-3196
                              5   David@GingrasLaw.com
                                  Applicant
                              6
                              7                             UNITED STATES DISTRICT COURT
                              8                                     DISTRICT OF ARIZONA
                              9   In re: Matter of the Application of David            MISCELLANEOUS ACTION
                             10   Gingras,                                             Case No:

                             11          Applicant.
                                                                                       REQUEST FOR SUBPOENAS TO
                             12
                                                                                       IDENTIFY INFRINGERS
                             13                                                        PURSUANT TO 17 U.S.C. § 512(h);
                                                                                       AND SUPPORTING
                             14                                                        DECLARATION
GINGRAS LAW OFFICE, PLLC
 4802 E. RAY ROAD, #23-271




                             15
  PHOENIX, ARIZONA 85044




                             16
                                         Pursuant to 17 U.S.C. § 512(h), Applicant David Gingras hereby requests the
                             17
                                  Clerk of this Court issue the attached Subpoena Duces Tecum to non-party Reddit, Inc.
                             18
                                  for the purpose of identifying certain alleged infringer(s).
                             19
                                         I.       APPLICABLE LAW
                             20
                                         17 U.S.C. § 512(h) provides as follows:
                             21
                             22          (h) Subpoena To Identify Infringer.—
                             23               (1) Request.—
                             24                   A copyright owner or a person authorized to act on the owner’s behalf
                                                  may request the clerk of any United States district court to issue a
                             25                   subpoena to a service provider for identification of an alleged infringer
                                                  in accordance with this subsection.
                             26
                             27          (2) Contents of request.—

                             28                   The request may be made by filing with the clerk—
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                              1                     (A) a copy of a notification described in subsection (c)(3)(A);
                                                    (B) a proposed subpoena; and
                              2
                                                    (C) a sworn declaration to the effect that the purpose for which
                              3                         the subpoena is sought is to obtain the identity of an alleged
                                                        infringer and that such information will only be used for the
                              4                         purpose of protecting rights under this title.
                              5
                                       (3) Contents of subpoena.—
                              6
                                             The subpoena shall authorize and order the service provider receiving
                              7              the notification and the subpoena to expeditiously disclose to the
                                             copyright owner or person authorized by the copyright owner
                              8
                                             information sufficient to identify the alleged infringer of the material
                              9              described in the notification to the extent such information is available
                                             to the service provider.
                             10
                             11        (4) Basis for granting subpoena.—

                             12              If the notification filed satisfies the provisions of subsection (c)(3)(A),
                                             the proposed subpoena is in proper form, and the accompanying
                             13              declaration is properly executed, the clerk shall expeditiously issue and
                             14              sign the proposed subpoena and return it to the requester for delivery to
                                             the service provider.
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 4802 E. RAY ROAD, #23-271




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  PHOENIX, ARIZONA 85044




                                       (5) Actions of service provider receiving subpoena.—
                             16
                             17              Upon receipt of the issued subpoena, either accompanying or
                                             subsequent to the receipt of a notification described in subsection
                             18              (c)(3)(A), the service provider shall expeditiously disclose to the
                                             copyright owner or person authorized by the copyright owner the
                             19              information required by the subpoena, notwithstanding any other
                             20              provision of law and regardless of whether the service provider responds
                                             to the notification.
                             21
                                       (6) Rules applicable to subpoena.—
                             22
                             23              Unless otherwise provided by this section or by applicable rules of the
                                             court, the procedure for issuance and delivery of the subpoena, and the
                             24              remedies for noncompliance with the subpoena, shall be governed to the
                                             greatest extent practicable by those provisions of the Federal Rules of
                             25              Civil Procedure governing the issuance, service, and enforcement of a
                             26              subpoena duces tecum.

                             27
                             28
                                                                              2
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                              1         II.    REQUEST FOR SUBPOENAS DUCES TECUM
                              2         Applicant satisfies each of the requirements of 17 U.S.C. § 512(h) as follows:
                              3         1.     A true and correct copy of Applicant’s notification as described in 17
                              4                U.S.C. § 512(c)(3)(A) is attached hereto as Exhibit A;
                              5         2.     The form of the proposed subpoena to Respondent is attached hereto as
                              6                Exhibit B;
                              7         3.     A sworn declaration to the effect that the purpose for which the subpoena is
                              8                sought is to obtain the identity of an alleged infringer and that such
                              9                information will only be used for the purpose of protecting rights under
                             10                Title 17 of the United States Code, is attached hereto as Exhibit C.
                             11
                             12         Wherefore, Applicant David Gingras requests the Clerk of this Court to issue the
                             13   subpoena to Respondent in the form submitted herewith.
                             14
GINGRAS LAW OFFICE, PLLC
 4802 E. RAY ROAD, #23-271




                             15
  PHOENIX, ARIZONA 85044




                                  DATED Dec. 4, 2024.                              /s/ David Gingras
                                                                                   David Gingras
                             16
                                                                                   Applicant
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                    Exhibit A
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David Gingras

From:                          David Gingras
Sent:                          Thursday, November 21, 2024 9:18 AM
To:                            copyright@reddit.com; Laura Owens
Subject:                       DMCA Takedown Notice



Hi Reddit DMCA Peeps!

My name is David Gingras. I am a lawyer in Phoenix, Arizona, and I’m sending you this notiﬁcation of
claimed infringement per 17 U.S.C. § 512(c)(3).

NOTE – I have been the DMCA agent for many websites, and I have reviewed literally 10s of thousands of
DMCA notices in my life. For that reason, I will give you all of the information to ensure this notice is valid,
but I will also give you a little extra information to make this easier and less boring.

Here’s the deal – I am currently representing a woman named Laura Owens in a case involving a guy
named Clayton Echard. Clayton was previously the star on the reality TV show, The Bachelor.

Laura claimed she became pregnant after hooking up with Clayton in 2023. In response, Clayton claimed
Laura “faked” her pregnancy. This is the subject of a pending lawsuit here in Arizona. I won’t bore you
with all the details, except to say the case has generated TONS of attention. The case also has an
extremely active community on Reddit here: https://www.reddit.com/r/JusticeForClayton

Clayton’s fans have posted TONS of YouTube videos about this case. And by tons, I mean thousands of
videos.

As part of my e ort to respond to Clayton’s fans, I have started posting my own videos talking about the
case. These are videos that I create myself, and I am the copyright owner in all of them. My channel is
here: https://www.youtube.com/@DavidSGingras

Clayton’s fans are, generally speaking, total fucking psychotic assholes. As part of this, Clayton’s fans
(the ones with YouTube channels) have recently started copying my videos and streaming them on their
own channels. They are doing this for the stated purpose of ensuring that I do not get views on my own
channel.

Below is a screenshot of a tweet where one of Clayton’s fans brags about this speciﬁc issue – asking
people to go watch MY videos on someone else’s channel so I will not get views on my channel.

NOTE – I submitted a DMCA complaint to YouTube regarding a recent incident of Clayton’s fans stealing
my content. YouTube agreed with my position and removed the infringing content.

Clayton’s fans, being the total fucking assholes that they are, have come up with a new plan – rather than
streaming my videos on other YouTube channels, they are writing detailed descriptions of my videos and
posting those descriptions on Reddit. Again, they are doing this for the stated purpose of ensuring that I
cannot monetize my own copyrighted works.

                                                       1
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I don’t need to explain this to you, but creating detailed written descriptions of my videos for the purpose
of stopping people from actually watching my videos is NOT fair use. This is creating a derivative work,
and it’s a violation of 17 U.S.C. § 106(2).

With that said, here is the information you need:

   1.) Physical or electronic signature – no problem: /s/ David S. Gingras

   2.) Identiﬁcation of the copyrighted works claimed to have been infringed:
          a. https://youtu.be/jPjNrjfKQ2k?si=2qnXNyNXN83NWQzu (video entitled: “Owens v. Echard
              Update - David READS Judge Mata's BAR COMPLAINT!”
          b. https://youtu.be/yS3zYCzBXUY?si=Mc-vwjzq9zX-AOtX (video entitled: “Laura Owens &
              David Gingras Discuss Clayton Echard Appeal in Arizona Paternity Case; Nov. 17, 2024”)

   3.) Identiﬁcation of infringing works:
          a. https://www.reddit.com/r/JusticeForClayton/comments/1gw4gvj/recap_of_gingras_readin
              g_matas_bar_complaint/ (posting by user r/hitoezakura entitled: “Recap of Gingras
              Reading Mata's Bar Complaint”)
          b. https://www.reddit.com/r/JusticeForClayton/comments/1gttg32/summary_of_lodg_video
              _discussing_appeal_brief/ (appears to have been removed for some other violation)
          c. https://www.reddit.com/r/JusticeForClayton/comments/1gttcuy/summary_of_the_video_r
              eleased_by_lodg/ (posting by user r/hitoezakura entitled: “Summary of the video released
              by LO/DG”)

   4.) My contact info: David Gingras, 4802 E. Ray Road, #23-271, Phoenix, AZ 85044; (480) 264-1400;
       david@gingraslaw.com

   5.) Statement: “I have a good faith belief that use of the material in the manner complained of is not
       authorized by the copyright owner, its agent, or the law.”

   6.) The information in this notiﬁcation is accurate, and under penalty of perjury, I am authorized to
       act on behalf of the owner of an exclusive right that is allegedly infringed (me).

Please note – the person stealing my content is user r/hitoezakura. Because this person has committed
three separate acts of infringement, I request that you terminate this user’s account as a repeat infringer.

As always, if you have questions, just let me know. Thanks.




                                                      2
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David Gingras, Esq.
Gingras Law Office, PLLC
David@GingrasLaw.com
https://twitter.com/DavidSGingras
                                              3
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http://gingraslaw.com
Tel.: (480) 264-1400
Fax: (480) 248-3196




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                    Exhibit B
                   Case 2:24-mc-00052-MTL                        Document 1               Filed 12/04/24             Page 10 of 14
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                             District
                                                       __________     of Arizona
                                                                  District of __________
                          David Gingras
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. Miscellaneous Proceeding
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
               Reddit, Inc. c/o CSC Lawyers Incorporating Service; 2710 Gateway Oaks Dr., Sacramento, CA 95833
 To:

                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Any documents you have showing the true identity of Reddit user u/hitoezakura (see also:
           https://www.reddit.com/user/hitoezakura/) including the user's true name, email address, contact
           information, and IP address logs for any logins by such person in the last 3 months.
  Place: Gingras Law Office, PLLC                                                       Date and Time:
           4802 E. Ray Road, #23-271, Phoenix, AZ 85048
           david@gingraslaw.com                                                                             12/27/2024 10:00 am


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
David Gingras                                                           , who issues or requests this subpoena, are:
David Gingras, Esq., 4802 E Ray Road, #23-271, Phoenix, AZ 85044; Tel: (480) 264-1400; david@gingraslaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                   Case 2:24-mc-00052-MTL                        Document 1              Filed 12/04/24              Page 11 of 14
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. Miscellaneous Proceeding

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                    Exhibit C
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 1                         DECLARATION OF DAVID GINGRAS
 2          I, David Gingras, having first been duly sworn, hereby state as follows:
 3          1.     My name is David Gingras. I am a United States citizen, a resident of the
 4   State of Arizona, am over the age of 18 years, and if called to testify in court or other
 5   proceeding I could and would give the following testimony which is based upon my own
 6   personal knowledge.
 7          2.     Pursuant to 17 U.S.C. § 512(h), I hereby state that the subpoena(s) which
 8   are the subject of this request are sought to obtain the identity of an alleged infringer and
 9   that such information will only be used for the purpose of protecting rights under Title 17
10   of the United States Code.
11          3.     I further declare that I have a good faith belief that the conduct at issue here
12   does not constitute fair use within the meaning of 17 U.S.C. § 107 and Baugher v.
13   GoDaddy.com, LLC, Case No. MC-19-00034-PHX-JJT 2021 U.S. Dist. LEXIS 204449,
14   2021 WL 4942658 (D.Ariz. Oct. 22, 2021).
15
16   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
17   United State of America that the foregoing is true and correct.
18
19   Executed on December 4, 2024                      _____________________________
20                                                     David Gingras

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